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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

                                                     §
                                                     §
  CIOFFI et al.,                                     §
       Plaintiffs,                                   §
  v.                                                 §           Civil Action No. 2:13-cv-103
                                                     §
  GOOGLE, INC.,                                      §
      Defendant.                                     §
                                                     §



        MEMORANDUM OPINION AND ORDER REGARDING ONGOING ROYALTY
                      AND SUPPLEMENTAL DAMAGES

          Before the Court is the Motion for Ongoing Royalty (Dkt. No. 277) filed by Plaintiffs

 Alfonso Cioffi, Melanie Rozman, Megan Rozman, and Morgan Rozman (collectively,

 “Plaintiffs”). Plaintiffs seek imposition of an ongoing royalty for any continued infringement by

 Defendant Google, Inc. (“Google”), as well as a corresponding reporting requirement. Having

 considered the Motion, the Parties’ briefing, and the relevant authorities, the Court is of the opinion

 that the Motion should be GRANTED AS MODIFIED. The Court hereby sets the ongoing

 royalty rate at $0.002601 per Chrome user per month—the implied royalty rate determined by the

 jury.

   I.     BACKGROUND

          A jury trial commenced in this case on February 6, 2017. On February 10, 2017, the jury

 returned a unanimous verdict (Dkt. No. 259) finding infringement and also finding the asserted

 claims not invalid. The jury awarded damages of $20 million in the form of a running royalty.

 (Dkt. No. 259.)
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        Plaintiffs concede that a permanent injunction is not appropriate in this case and instead

 seek an ongoing royalty to compensate them for future infringement that may occur during the

 remaining nine years of the infringed patents. (Dkt. No. 277 at 6, 17.) Although Plaintiffs initially

 indicated in a footnote their intent to seek supplemental damages by a separate motion, at the

 hearing on this Motion, the Parties agreed instead to apply the ongoing royalty rate determined by

 the Court to any supplemental damages, thus eliminating the need for an additional motion. (Tr.

 of Mot. Hr’g, July 6, 2017, Dkt. No. 30 (“Hr’g Tr.”) at 45:20–47:12.)

  II.   ONGOING ROYALTY

            a. Procedure

        At the outset, Google argues that a determination of any ongoing royalty in this case should

 be deferred until after the Court addresses the Parties’ pending JMOL motions. (Dkt. No. 285 at

 5.) Google suggests that this Court should instead sever the issue of ongoing royalties from this

 case and then stay consideration of that issue. (Dkt. No. 285 at 5.)

        In this Court’s view, it is prudent in this case to address the issue of ongoing royalties now

 rather than unduly delay the entry of final judgment. See Warsaw Orthopedic, Inc. v. NuVasive,

 Inc., 515 F. App’x 882 (Fed. Cir. 2012) (“[T]he case is not ‘final’ because the district court has

 not yet determined ongoing royalties. An ongoing royalty is not the same as an accounting for

 damages [under 28 U.S.C. § 1292(c)(2)].”). In Warsaw Orthopedic, the Federal Circuit dismissed

 an appeal because the district court had not yet addressed ongoing royalties. Id. Although Warsaw

 Orthopedic is a non-precedential decision, it nonetheless provides some level of guidance as to

 what issues should be included in a final judgment. Moreover, the Circuit’s reasoning in that case

 is consistent with Supreme Court precedent regarding finality of judgments. See Catlin v. United


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 States, 324 U.S. 229, 233 (1945) (“A ‘final decision’ generally is one which ends the litigation on

 the merits and leaves nothing for the court to do but execute the judgment.”). Other district courts

 have agreed, holding that staying the ongoing royalty issue would preclude entry of final judgment,

 thus preventing the parties from appealing other issues in the case. See, e.g., Apple, Inc. v. Samsung

 Elecs. Co., No. 12-cv-00630-LHK, 2014 WL 6687122, at *7 (N.D. Cal. Nov. 25, 2014). The

 Warsaw Orthopedic reasoning also promotes the policy underlying final judgments—that all

 issues be addressed through a single appeal rather than through piecemeal appellate practice. As

 such, the Court is persuaded that it is prudent under the circumstances in this case to address

 ongoing royalties before entering final judgment.

        As to Google’s suggestion to sever the issue of ongoing royalties, Google has not presented

 any case law to suggest that this Court must sever and stay the ongoing royalty determination. The

 Court sees no particular reason to sever this issue in this case.

            b. Legal Standard

        A court’s authority to award an ongoing royalty for continued patent infringement finds its

 origin in 35 U.S.C. § 283. Prism Techs. LLC v. Sprint Spectrum L.P., 849 F.3d 1360, 1377 (Fed.

 Cir. 2017) (“We have interpreted that provision [Section 283] to permit a court to award ‘an

 ongoing royalty for patent infringement in lieu of an injunction’ barring the infringing conduct.”

 (quoting Paice LLC v. Toyota Motor Corp., 504 F.3d 1293, 1314 (Fed. Cir. 2007)). The award of

 an ongoing royalty is equitable in nature. Fresenius USA, Inc. v. Baxter Int’l, Inc., 733 F.3d 1369,

 1379 (Fed. Cir. 2013) (“Fresenius II”) (“While we may at times improperly use the term ‘damages’

 as a shorthand term to encompass the concept of the right to some prospective monetary relief,

 that cannot change the equitable character of that relief.”).


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                     i. Whether an Ongoing Royalty is Appropriate

        The Federal Circuit has recognized that “[u]nder some circumstances, awarding an ongoing

 royalty for patent infringement in lieu of an injunction may be appropriate.” Paice, 504 F.3d at

 1314. More recently, the Circuit has stated that “absent egregious circumstances, when injunctive

 relief is inappropriate, the patentee remains entitled to an ongoing royalty.” SCA Hygiene Prod.

 Aktiebolag v. First Quality Baby Prod., LLC, 807 F.3d 1311, 1332–33 (Fed. Cir. 2015), vacated

 in part on other grounds, 137 S. Ct. 954 (2017). However, a court is not required to grant a

 patentee’s request for an ongoing royalty, even where a permanent injunction does not issue.

 Whitserve, LLC v. Computer Packages, Inc., 694 F.3d 10, 35–36 (Fed. Cir. 2012); Paice, 504 F.3d

 at 1315. Instead, whether to grant an ongoing royalty is a matter within the district court’s

 discretion, and a court may decide that a forward-looking royalty is not appropriate in a particular

 case. See Whitserve, 694 F.3d at 35.

        The question of whether to award an ongoing royalty is guided at least in part by the form

 and scope of relief awarded by the jury. For example, in Summit 6, LLC v. Samsung Elecs. Co.,

 the jury’s damages award took the form of a lump sum royalty. 802 F.3d 1283, 1301 (Fed. Cir.

 2015). There, the Federal Circuit held that “the district court properly denied [the plaintiff’s]

 request for an ongoing royalty because the jury award compensated [the plaintiff] for both past

 and future infringement through the life of the patent.” Id. at 1300–01. See also Telcordia Techs.,

 Inc. v. Cisco Sys., Inc., 612 F.3d 1365, 1379 (Fed. Cir. 2010) (“An award of an ongoing royalty is

 appropriate because the record supports the district court’s finding that [the plaintiff] has not been

 compensated for [the defendant’s] continuing infringement.”); Fresenius USA, Inc. v. Baxter Int’l,

 Inc., 582 F.3d 1288, 1303 (Fed. Cir. 2009) (“Fresenius I”) (“A damages award for pre-verdict


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 sales of the infringing product does not fully compensate the patentee because it fails to account

 for post-verdict sales of repair parts. . . . The district court was within its discretion to impose a

 royalty on those sales of disposable products in order to fully compensate [the patentee] for the

 infringement.”); Erfindergemeinschaft UroPep GbR v. Eli Lilly & Co., No. 2:15-cv-1202-WCB,

 2017 WL 3034655, at *2 (E.D. Tex. July 18, 2017) (Bryson, J.) (“UroPep”) (“[I]t would be

 improper for the Court first to conclude that the damages awarded by the jury do not cover the

 post-verdict period, but then to rule that [the plaintiff] is not entitled to any relief for that period.”).

 Accordingly, whether the jury award compensates the patentee for future infringement is important

 because without some form of prospective relief, the patent owner is effectively forced to “resort

 to serial litigation” to receive compensation for future infringement. UroPep, 2017 WL 3034655,

 at *2 (quoting Whitserve, 694 F.3d at 35).

         Where the jury has not expressly indicated the form of its reasonable royalty award, the

 form of the award may be inferred based on the arguments and evidence presented to the jury

 during trial, the district court’s instructions to the jury, and the verdict form itself. See Whitserve,

 694 F.3d at 35 (analyzing the evidence at trial and rejecting the argument that the jury awarded a

 paid-up license). Here the jury’s verdict expressly indicates the reasonable royalty was a running

 royalty as opposed to a lump sum award.

                     ii. Setting the Royalty Rate

          If a district court finds it appropriate to award an ongoing royalty, the proper royalty rate

 is “a matter committed to the sound discretion of the district court.” Amado v. Microsoft Corp.,

 517 F.3d 1353, 1362 n.2 (Fed. Cir. 2008). See also Paice, 504 F.3d at 1315. Courts routinely use

 the royalty rate implied by the jury’s verdict as the starting point in determining a forward-looking


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 royalty. UroPep, 2017 WL 3034655, at *7 (“Recognizing the importance of the jury’s verdict,

 courts have uniformly held that the starting point for the Amado analysis of the ongoing royalty

 rate is the royalty rate found by the jury for the pre-verdict infringement period.”). However, a

 court has discretion to impose an ongoing royalty rate higher than the rate implied by the jury. See

 Amado, 517 F.3d at 1361–62 (rejecting the argument that the post-verdict royalty rate should

 necessarily be equivalent to the implied rate determined by the jury). The patent owner seeking a

 higher rate bears the burden to show that enhancement of the jury’s rate is appropriate in a given

 case. UroPep, 2017 WL 3034655 at *7.

        Using the jury’s implied royalty rate as a starting point, courts conduct a renewed analysis

 of a reasonable royalty based on a post-verdict hypothetical negotiation. UroPep, 2017 WL

 3034655 at *8; Apple, Inc. v. Samsung Elecs. Co., No. 12-cv-00630-LHK, 2014 WL 6687122, at

 *13 (N.D. Cal. Nov. 25, 2014). In this analysis, “courts have often used the so-called Georgia-

 Pacific factors in assessing how the changed circumstances would produce a royalty rate in a

 hypothetical post-verdict licensing negotiation that was different from the royalty rate the jury

 selected based on a hypothetical licensing negotiation at the outset of infringement.” Bianco v.

 Globus Med., Inc., 53 F. Supp. 3d 929, 933 (E.D. Tex. 2014) (Bryson, J.). See Fresenius I, 582

 F.3d at 1303 (reversing the district court’s JMOL ruling and, in light of such reversal, remanding

 for an analysis of the ongoing royalty rate that would result from a hypothetical negotiation—an

 analysis that is “influenced by the Georgia Pacific factors”). See generally Georgia-Pacific Corp.

 v. U.S. Plywood Corp., 318 F. Supp. 1116 (S.D.N.Y. 1970) (outlining the relevant factors). In this

 post-verdict analysis, courts “focus[] on any new evidence that was not before the jury and

 additionally any changed circumstances (other than willfulness) between a hypothetical


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 negotiation that occurred [at the time infringement began] (which the jury determined) and a

 hypothetical negotiation that would occur [] after the judgment (which this Court is determining).”

 Mondis Tech. Ltd. v. Chimei InnoLux Corp., 822 F. Supp. 2d 639, 647 (E.D. Tex. 2011), aff’d sub

 nom. Mondis Tech. Ltd. v. Innolux Corp., 530 F. App’x 959 (Fed. Cir. 2013).

        A jury’s calculation of a reasonable royalty based on the hypothetical negotiation model

 involves “ascertain[ing] the royalty upon which the parties would have agreed had they

 successfully negotiated an agreement just before infringement began.” Lucent Techs., Inc. v.

 Gateway, Inc., 580 F.3d 1301, 1324 (Fed. Cir. 2009). This approach analyzes the rate a willing

 licensor and willing licensee would have agreed to before infringement began, with both parties

 assuming that the patents were valid and infringed. Lucent Techs., 580 F.3d at 1325 (“The

 hypothetical negotiation also assumes that the asserted patent claims are valid and infringed.”).

        Where it is clear that the jury’s award was based upon an assumption that the patent was

 infringed and valid, there is a “strong reason for following the jury’s lead” in determining the

 appropriate ongoing royalty rate. UroPep, 2017 WL 3034655 at *7. Said another way, the fact that

 the jury has determined that the patents are actually valid and infringed does not necessarily change

 the analysis. Although the new hypothetical negotiation occurs on the date of the jury verdict, this

 underlying assumption—that the patents are valid and infringed—has not changed since the date

 of the hypothetical negotiation considered by the jury. As Judge Byson aptly explained in UroPep:

 “To the extent that the jury can be discerned to have made a decision based on the assumption that

 the patent was infringed and valid, and to the extent that other considerations do not compel a

 departure from the jury’s assessment of the proper royalty rate, the Court should defer to the jury’s

 decision as the finder of fact . . . .” UroPep, 2017 WL 3034655 at *7.


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         Although the underlying assumptions of validity and infringement have not changed pre-

 verdict versus post-verdict, the Federal Circuit has nonetheless stated that “[t]here is a fundamental

 difference [] between a reasonable royalty for pre-verdict infringement and damages for post-

 verdict infringement.” Amado, 517 F.3d at 1361 (quoting Paice, 504 F.3d at 1317 (“[P]re-suit and

 post-judgment acts of infringement are distinct, and may warrant different royalty rates given the

 change in the parties’ legal relationship and other factors.” (Rader, J., concurring))). As the Amado

 Court explained: “[p]rior to judgment, liability for infringement, as well as the validity of the

 patent, is uncertain, and damages are determined in the context of that uncertainty. Once a

 judgment of validity and infringement has been entered, however, the calculus is markedly

 different because different economic factors are involved.” Amado, 517 F.3d at 1362. The posture

 in Amado, however, was unique. See ActiveVideo Networks, Inc. v. Verizon Commc’ns, Inc., 694

 F.3d 1312, 1343 (Fed. Cir. 2012) (referring to Amado as a “sunset royalty analysis”). There, the

 district court granted a permanent injunction, then stayed implementation of that injunction until

 seven days after the resolution of any appeal. Amado, 517 F.3d at 1356. After the appeal concluded,

 the district court dissolved the injunction1 and awarded the plaintiff a per-unit royalty rate for

 infringing sales made during the sunset royalty period (the period that the stay of the injunction

 had been in effect). Id. As other courts have reasoned, the analysis in Amado may not apply to

 every case. UroPep, 2017 WL 3034655 at *5; EMC Corp. v. Zerto, Inc., No. CV 12-956 (GMS),

 2017 WL 3434212, at *3 (D. Del. Aug. 10, 2017). Instead, Amado may be limited to cases where

 a permanent injunction was found to be appropriate. UroPep, 2017 WL 3034655 at *5; EMC



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  The district court in Amado dissolved the permanent injunction in light of eBay Inc. v. MercExchange, L.L.C., 547
 U.S. 388 (2006). However, this aspect of Amado is not relevant to the ongoing royalty analysis.

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 Corp., 2017 WL 3434212, at *3 (distinguishing Amado based on Amado’s unique posture

 involving a stay of a permanent injunction).

             c. Analysis

                      i. Whether an Ongoing Royalty is Appropriate

         At the outset, a court should first determine whether imposition of an ongoing royalty is

 appropriate in a particular case. As Google correctly notes, ongoing royalties are a form of

 equitable relief, and a court may “exercise its discretion to conclude that no forward-looking relief

 is appropriate in the circumstances.” WhitServe, 694 F.3d at 35. In this case, the verdict form

 indicates that the jury’s damages award was intended to compensate Plaintiffs only for past

 infringement. (See Dkt. No. 259 at 4 (showing the jury’s indication that its award took the form of

 a running royalty rather than a lump sum).) Moreover, neither party has pointed to evidence or

 arguments presented at trial that would support an argument that the jury award included future

 infringement. From this, the Court finds it fitting to award an ongoing royalty in this case, as the

 jury’s award fails to compensate Plaintiffs for future infringement. See Summit 6, LLC v. Samsung

 Elecs. Co., 802 F.3d 1283, 1301 (Fed. Cir. 2015) (affirming denial of ongoing royalty because “the

 jury award compensated [the plaintiff] for both past and future infringement through the life of the

 patent”); Telcordia Techs., Inc. v. Cisco Sys., Inc., 612 F.3d 1365, 1379 (Fed. Cir. 2010) (“An

 award of an ongoing royalty is appropriate because the record supports the district court’s finding

 that [the plaintiff] has not been compensated for [the defendant’s] continuing infringement.”);

 UroPep, 2017 WL 3034655 at *2 (“[I]t would be improper for the Court first to conclude that the

 damages awarded by the jury do not cover the post-verdict period, but then to rule that [the

 plaintiff] is not entitled to any relief for that period.”).


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            Having determined that the circumstances of this case warrant an ongoing royalty, the

 Court next turns to the issue of what royalty rate is appropriate.

                         ii. Implied Royalty Rate

            In this case, the Parties agree that the royalty rate implied by the jury’s verdict is $0.002601

 per Chrome user per month. (Hr’g Tr. at 23:18–22, 24:11–16.) This rate is supported by the

 evidence presented at trial. During trial, Plaintiffs’ damages expert, Dr. Bratic, opined that a

 reasonable royalty for past infringement would be $26,275,887, which was calculated based on a

 running royalty rate of $0.0034 per Chrome user per month, multiplied by about 7.7 billion

 monthly users.2 (Bratic Decl. ¶ 5; Dkt. No. 277 at 4–5, 9 & n.1; Trial Tr. Feb. 7, 2017 p.m., Dkt.

 No. 266 at 74:21–75:13, 94:16–95:24; Sealed Trial Tr. Feb. 7, 2017, Dkt. No. 265 at 38:18–40:2.)

 The user base included users from December 2012 to January 2017. (Bratic Decl. ¶ 5; Dkt. No.

 277 at 4–5; Dkt. No. 285 at 14; Trial Tr., Feb. 7, 2017 p.m., Dkt. No. 266 at 75:1–4.)

            Although the jury did not expressly provide a royalty rate, the implied royalty rate may be

 calculated based on the total damages award and the user base. Plaintiffs calculate this implied rate

 by noting that the total damages award ($20 million) is about 76.12% of the total damages award

 they suggested to the jury ($26,275,887), which was based on a suggested rate of $0.0034. (Bratic

 Decl. ¶¶ 5–6; Dkt. No. 277 at 5.) Multiplying the rate Plaintiffs suggested to the jury ($0.0034) by

 this same percentage (76.12%) results in an implied rate of $0.002601 per Chrome user device per

 month. (Bratic Decl. ¶ 6.) The Court finds this undisputed calculation to be reasonable based on

 the evidence. Thus, the Court adopts $0.002601 as the implied royalty rate.




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     Google produced its financial data using “monthly active user totals.” (Bratic Decl. ¶ 5; Dkt. No. 277 at 5 n.1.)

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                      iii. Proper Royalty Rate

          In this case, the Parties attempted to negotiate a rate amenable to both parties. However,

 such negotiations have failed. (Hr’g Tr. at 5:15–7:13; Dkt. No. 289 at 2; Decl. of Eric W. Benisek

 in Support of Plaintiffs’ Motion for Ongoing Royalty, Dkt. No. 277-1 ¶ 2.) In fact, the Parties

 could not even agree as to whether their discussion of ongoing royalties was premature. (Dkt. No.

 285 at 8; Dkt. No. 290 at 3.) At the hearing, the Parties indicated that further negotiations would

 result in an impasse. (Hr’g Tr. 6:18–21.) Having given the Parties an opportunity to negotiate an

 appropriate rate, and finding that it would be futile to order additional negotiation efforts, this

 Court now exercises its discretion to impose an ongoing royalty rate for post-verdict infringement.

          As discussed in further detail below, Plaintiffs request a royalty rate that falls between

 $0.0052 and $0.0078 per Chrome user per month, which amounts to 2–3 times the implied jury

 rate. (Dkt. No. 277 at 17.) Defendant argues for a rate equal to the jury’s implied rate.3 For the

 reasons discussed below, the Court agrees with Google.

                                 1. Post-Verdict Hypothetical Negotiation

          Plaintiffs first argue that a higher royalty rate is warranted due to changes in the Parties’

 bargaining power. (Dkt. No. 277 at 9.) Specifically, Plaintiffs argue that they would not willingly

 accept the implied royalty rate for post-verdict infringement, given the Parties’ changed legal

 status, with Google now being an adjudicated infringer with weakened bargaining power. (Dkt.



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   Although Defendant initially argued in its briefing that certain Georgia-Pacific factors actually favor a rate lower
 than the implied jury rate, during the ongoing royalty hearing, Defendant’s counsel argued in favor of simply using
 the implied jury rate. (Hr’g Tr. at 29:11–15.) Moreover, as Plaintiffs note, when the jury set its royalty rate, it had
 already considered the evidence cited by Defendant in support of its arguments for a lower rate. (Dkt. No. 289 at 5.)
 For example, the jury heard evidence that Plaintiffs have never licensed the asserted patents. (Dkt. No. 289 at 5.) As
 such, without an explanation as to how such evidence should alter the post-verdict rate as compared to the pre-verdict
 rate, the Court need not reconsider the same evidence that has already been incorporated into the jury’s verdict.

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 No. 277 at 10–11.) However, the Court is not persuaded, as the circumstances that would give

 Plaintiffs strengthened bargaining power (that the patents are infringed and not invalid) were

 already assumed and in place when the jury set its implied royalty rate.

        It is clear that the jury assumed that the patents were valid and infringed when it analyzed

 the hypothetical negotiation that would have occurred just before infringement began. (Trial Tr.

 Feb. 7, 2017 p.m., Dkt. No. 266 at 78:25–79:4 (testimony of Plaintiff’s damages expert); Feb. 9,

 2017 a.m., Dkt. No. 270 at 49:4–9 (testimony of Defendant’s damages expert); Feb. 10, 2017 a.m.,

 Dkt. No. 272 at 49:13–16 (jury instructions, instructing the jury to assume validity and

 infringement).) Thus, the jury’s implied royalty rate already encompasses the result that has now

 been formally reached through a verdict—that the patents are valid and infringed—and the Court

 need not alter the post-verdict hypothetical negotiation in light of these now confirmed

 assumptions. See UroPep, 2017 WL 3034655 at *6–7; EMC Corp., 2017 WL 3434212, at *3

 (“When the court considers a hypothetical negotiation that occurs post-trial, that approximation

 and uncertainty are absent. The question is really whether removing such uncertainty materially

 affects the royalty rate calculation. The court does not believe it does.”).

        Plaintiffs next contend that the ongoing royalty rate should be enhanced because the

 patented invention covers the “flagship feature” of the Chrome web browser: a per-process

 sandbox that has been “fundamental” to the Chrome brand since 2008. (Dkt. No. 277 at 11 (citing

 Trial Tr. Feb. 8, 2017 a.m., Dkt. No. 267 at 71:23–73:20; 40:25–42:12; PTX-039; PTX-017).)

 Plaintiffs point to evidence presented at trial which, according to Plaintiffs, indicates that Google

 would rather pay a higher figure in this revised hypothetical negotiation than lose this “flagship

 feature” of Chrome. (Dkt. No. 277 at 11 (citing Trial Tr. Feb. 8, 2017 a.m., Dkt. No. 267 at 71:23–


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 73:20; 40:25–42:12; PTX-039; PTX-017).) Google responds, however, that Chrome has many

 features and that even with respect to the various security features of Chrome, the “auto-update”

 feature was the most important. (Dkt. No. 285 at 13 (citing Trial. Tr. Feb. 8, 2017 a.m., Dkt. No.

 267 at 44:1–45:22).) Google also points to evidence that speed is the most important overall feature

 to users. (Dkt. No. 285 at 13 (citing Trial Tr. Feb. 8, 2017 a.m., Dkt. No. 267 at 13:6–17).) Based

 on this evidence, Google argues that the sandboxing feature is simply not as important as Plaintiffs

 make it out to be and that Plaintiffs’ request for ongoing royalties at a rate 2–3 times the implied

 jury rate is therefore disproportionate to the relative value of the infringing feature. (Dkt. No. 285

 at 13.)

           The relative importance of the patented technology, both from Google’s perspective and

 from its users’ perspective, has already been considered by the jury and has been incorporated into

 the jury’s implied rate. As such, without evidence that post-verdict circumstances will alter the

 importance of the patented feature, the Court finds no reason to reconsider this evidence. See

 Internet Machines LLC v. Alienware Corp., No. 6:10-cv-23, 2013 WL 4056282, at *19 (E.D. Tex.

 June 19, 2013), aff’d sub nom. Internet Machines LLC v. Cyclone Microsystems, Inc., 575 F.

 App’x 895 (Fed. Cir. 2014) (“[Plaintiff] points to numerous documents and testimony from trial

 in arguing that a number of the factors strongly suggest an increase is warranted in the royalty rate.

 But all of the evidence [the plaintiff] points out was previously before the jury and considered at

 the time the jury addressed damages. This evidence provides no insight into the parties’ subsequent

 changed circumstances.”).

           Turning to the Parties’ specific arguments under the Georgia-Pacific factors, Plaintiffs

 indicate that factors 1–7 have not changed. (Dkt. No. 277 at 11.) However, Plaintiffs argue that


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 factors 8–10, pertaining to profitability, commercial success, and benefits of the infringing

 product, favor a higher royalty. (Dkt. No. 277 at 11.) Plaintiffs first point to evidence that the

 number of regular users of Chrome increased 20% between 2015 and 2016. (Dkt. No. 277 at 11;

 Bratic Decl. ¶ 8 (citing Bratic Decl., Ex. A).) Google responds by noting that Plaintiffs did not

 provide any evidence to suggest that the 20% increase in Chrome users was caused by or

 attributable to the patented technology. (Bakewell Decl. ¶ 5.) In further support of this point,

 Google notes that the number of users for the non-accused version of Chrome increased by about

 24.1% during the same period of time—a higher percentage increase than was experienced by the

 infringing version of Chrome. (Bakewell Decl. ¶ 6.) According to Google, this demonstrates that

 the increase in Chrome users was caused by something other than the patented technology.

 (Bakewell Decl. ¶ 6.) To some extent, the Court agrees. Although increased commercial success

 between the two hypothetical negotiation dates could theoretically favor a higher ongoing royalty

 rate, the evidence of causation is insufficient to warrant a higher royalty rate.

        Plaintiffs also contend that Google’s refusal to switch to what Google believes to be a

 suitable non-infringing alternative “in the face of significant legal exposure demonstrates the

 continued utility and advantage of the patented technology over old security methods.” (Dkt. No.

 277 at 11 (citing Trial Tr. Feb. 9, 2017 a.m., Dkt. No. 270 at 55:2–18; 78:12–79:24).) However, at

 least one district court has found that the ability for a defendant to switch to a non-infringing

 alternative actually weighs against a higher royalty rate because a defendant, post-verdict, is able

 to use an alternative rather than continue its infringing conduct. See ActiveVideo Networks, Inc. v.

 Verizon Commc’ns, Inc., 827 F. Supp. 2d 641, 658 (E.D. Va. 2011), aff’d in part, rev’d in part on

 other grounds, 694 F.3d 1312 (Fed. Cir. 2012) (noting that the defendant’s ability to create a non-


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 infringing alternative lessens any increase in a plaintiff’s bargaining power). Thus, the Court is not

 persuaded by Plaintiffs’ argument on this point.

                            2. Willfulness

        Irrespective of the Georgia-Pacific factors, Plaintiffs argue that the implied royalty rate

 should be enhanced because any continued infringement is inherently willful. Plaintiffs

 particularly point to testimony indicating that Google could switch to a non-infringing version of

 Chrome in a short amount of time and at little cost. (Dkt. No. 277 at 12 (citing Trial Tr., Feb. 9,

 2017 a.m., Dkt. No. 270 at 55:2–18, 78:12–79:24).) This, Plaintiffs argue, shows that any

 continued infringement is necessarily willful. In response, Google argues that willfulness

 enhancement is per se improper, as willfulness is a means for enhancing damages, and damages

 “by definition cover[] only past harm.” (Dkt. No. 285 at 8 (quoting WhitServe, 694 F.3d at 35

 (stating this principle in the context of evaluating whether the jury awarded a paid-up license))).

        Plaintiffs did not assert willful infringement at trial and instead dropped all allegations of

 willful infringement up through the jury verdict. (Dkt. No. 200 at 7.) In doing so, Plaintiffs stated

 that they were “retain[ing] the right to seek willful infringement in any post-trial proceedings such

 as seeking an ongoing royalty under Paice LLC v. Toyota Motor Corp.” (Dkt. No. 200 at 7.) As

 this Court noted during trial, willful infringement is essentially a claim for non-compensatory

 punitive damages. (Trial Tr. Feb. 6, 2017 p.m., Dkt. No. 263 at 78:10–79:21.) See Halo Elecs.,

 Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923, 1932 (2016) (noting that “[a]wards of enhanced damages

 under the Patent Act over the past 180 years establish that they are not to be meted out in a typical

 infringement case, but are instead designed as a ‘punitive’ or ‘vindictive’ sanction for egregious

 infringement behavior”). Meanwhile, the purpose of an ongoing royalty, an equitable form of


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 relief, is to help fully compensate the patent owner for infringement of its patent rights. As such,

 it is unclear whether enhancing an ongoing royalty based on future willfulness is appropriate.

 Regardless, considering the totality of the circumstances developed throughout the trial, the Court

 is not persuaded that an enhancement based on willfulness would be appropriate in this case.

        Both Parties spend much of their briefing analyzing the various Read factors, which are

 used by courts, even after Halo, when determining whether to enhance damages after a jury finding

 of willful infringement. See Dominion Res. Inc. v. Alstom Grid, Inc., No. CV 15-224, 2016 WL

 5674713, at *21 (E.D. Pa. Oct. 3, 2016) (collecting cases where courts have used the Read factors

 to guide the discretionary analysis post-Halo). The Read factors include: “(1) whether the infringer

 deliberately copied the ideas or design of another; (2) whether the infringer, when he knew of the

 other’s patent protection, investigated the scope of the patent and formed a good-faith belief that

 it was invalid or that it was not infringed; (3) the infringer’s behavior as a party to the litigation;

 (4) the defendant’s size and financial condition; (5) the closeness of the case; (6) the duration of

 defendant’s misconduct; (7) any remedial action by the defendant; (8) the defendant’s motivation

 for harm; and (9) whether the defendant attempted to conceal its misconduct.” Affinity Labs of

 Texas, LLC v. BMW N. Am., LLC, 783 F. Supp. 2d 891, 902 (E.D. Tex. 2011) (citing Read, 970

 F.2d at 827).

        The Court does not find application of the Read factors necessary in this case. Although

 the Court does not necessarily agree with Google’s argument that enhancing the ongoing royalty

 rate based on willfulness is per se improper, the Court recognizes that the Federal Circuit has

 discounted the relevance of willfulness in at least some circumstances. See Amado, 517 F.3d at

 1356–62.


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         As previously mentioned, in Amado, the district court issued a permanent injunction to

 prevent future infringement of the patents, but then stayed implementation of that injunction until

 seven days after the resolution of any appeal. Amado, 517 F.3d at 1356. As a condition of the stay

 of the injunction, the district court also required the defendant to make escrow deposits of a certain

 amount for each infringing product sold during the stay period. Id. After the first appeal on the

 merits concluded, the Circuit remanded the case for the district court to determine the proper

 royalty rate for sales that occurred during the period of time that the permanent injunction was

 stayed. Amado, 517 F.3d at 1356. The district court determined that the plaintiff was entitled to a

 royalty rate that was three times the reasonable royalty rate implied by the jury verdict, trebling

 the rate using willful infringement as a guideline. Id. at 1361–62.4 On appeal of the royalty rate

 set by the district court, the Federal Circuit stated that “willfulness, as such, is not the inquiry when

 the infringement is permitted by a court-ordered stay.” Amado, 517 F.3d at 1362.

         The posture of this case is far different from the unique scenario in Amado. However, it is

 difficult to see how the underlying logic of Amado does not apply here. In Amado, the Court held

 that willfulness was not the relevant inquiry when setting the royalty rate for post-verdict sales,

 even where the defendant knew that a permanent injunction of those sales would become effective

 in the future. In short, although the defendant in Amado was authorized to make infringing sales

 during the stay of the injunction, the defendant knew it would ultimately have to cease its

 infringing activity. Here, all Parties are aware that no permanent injunction will issue in this case

 because Plaintiffs have elected not to seek a permanent injunction. Thus, future infringement will


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   On remand, the district court in Amado also determined that the permanent injunction should be dissolved
 prospectively, given the Supreme Court’s intervening decision in eBay. However, this aspect of Amado does not
 impact the analysis in this case.

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 be authorized, even though Google will be required to pay a royalty for any such infringement.

 When comparing these two post-verdict scenarios, it appears to this Court that willfulness would

 be more relevant to the situation in Amado than it would be to the situation here, where any future

 infringement is authorized indefinitely. However, since the Circuit has rejected consideration of

 willfulness in the Amado context, this Court finds it appropriate to reject consideration of

 willfulness in this case as well.5 See EMC Corp., 2017 WL 3434212, at *5 (“If willfulness was

 not the proper inquiry in Amado where the district court awarded an injunction—despite staying it

 pending appeal—it seems equally improper here where the court already decided that the equities

 did not weigh in favor of granting [the plaintiff] an injunction.”). Moreover, as other courts have

 noted, Plaintiffs receive a benefit from Google’s continued infringement—an ongoing royalty for

 future infringing uses. Id.; UroPep, 2017 WL 3034655, at *9. Accordingly, this Court declines to

 enhance the ongoing royalty rate in this case based on a theory of willfulness.

          Having considered the Parties’ arguments, the Court agrees with Google that Plaintiffs

 have not presented sufficient evidence of changed circumstances such as to warrant enhancement

 of the implied jury rate in this case. In sum, Plaintiffs bear the burden of demonstrating that a

 heightened royalty is appropriate in this case. The Court is not persuaded that economic and

 commercial circumstances have changed materially since the date of the hypothetical negotiation

 considered by the jury. Accordingly, having considered anew the Georgia Pacific factors, and

 having rejected any enhancement based on willfulness, the Court finds no reason to depart from

 the jury’s implied royalty rate in this case.


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   In this Court’s view, Plaintiffs’ arguments regarding reducing Google’s marginal profit from its infringing activity
 as a means of deterring patent infringement remain inextricably intertwined with a willfulness analysis. Accordingly,
 the Court does not consider such arguments here.

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            d. Reporting Requirement

         For purposes of administering the ongoing royalty going forward, the Court finds it

 appropriate to establish a reporting requirement. Plaintiffs suggest a reporting requirement which

 mirrors Google’s method of reporting during discovery. Specifically, Plaintiffs suggest that by the

 5th of each month, Google should produce a report of 7-day active users of all infringing versions

 of Chrome, as of the 1st day of that month. (Dkt. No. 277 at 18.) Plaintiffs further suggest that

 Google should be required to pay the ongoing royalty no later than the 15th of each month. (Dkt.

 No. 277 at 18.) Google has not disputed this suggestion, nor has it provided a competing proposal.

 Accordingly, the Court finds Plaintiffs’ approach to be reasonable and adopts it for this case.

  III.   SUPPLEMENTAL DAMAGES

         “District courts have discretion to award damages for periods of infringement not

 considered by the jury.” Whitserve, 694 F.3d at 38 (citing Fresenius I, 582 F.3d at 1303). Here the

 jury, during trial, was presented with user data through January 31, 2017. (Dkt. No. 285 at 4–5.)

 As such, the patentee has not yet been compensated for infringing uses from February 1, 2017,

 through the entry of judgment. As discussed above, however, the Parties have agreed to apply the

 ongoing royalty rate determined by the Court to this supplemental damages period, thus

 eliminating the need for an additional motion. (Hr’g Tr. at 45:20–47:12.)

  IV.    CONCLUSION

         Having determined that the ongoing royalty rate should be consistent with the jury’s

 implied royalty rate in this case, the Court finds that Plaintiffs’ Motion for Ongoing Royalty (Dkt.

 No. 277) should be GRANTED AS MODIFIED. The Court hereby sets the ongoing royalty rate

 for the accused technology at $0.002601 per Chrome user per month. The Court further holds that


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 such rate shall apply beginning February 1, 2017, being the day after the last date for which the

 jury considered damages. The Court will incorporate the above determined ongoing royalty rate

 into the Final Judgment it will subsequently enter in this case.
       SIGNED this 19th day of December, 2011.
      So ORDERED and SIGNED this 12th day of September, 2017.




                                                          ____________________________________
                                                          RODNEY GILSTRAP
                                                          UNITED STATES DISTRICT JUDGE




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